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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                                 8:13CR43
                  Plaintiff,
      vs.
                                                          ORDER
EDUARDO VALENZUELA-NUNEZ,
                  Defendant.


     IT IS ORDERED that:

     1.     The defendant's unopposed Motion to Continue Sentencing (filing
            473) is granted.

     2.     Defendant Eduardo Valenzuela-Nunez's sentencing is continued
            to Friday, January 16, 2015, at 2:30 p.m., before the undersigned
            United States District Judge, in Courtroom No. 1, Roman L.
            Hruska Federal Courthouse, 111 South 18th Plaza, Omaha,
            Nebraska. The defendant shall be present at the hearing.

     Dated this 9th day of October, 2014.

                                           BY THE COURT:



                                           John M. Gerrard
                                           United States District Judge
